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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO




     ARTHUR FERRO

                      Plaintiff,

     vs.                                                    NO.

     BOARD OF COUNTY COMMISSIONERS
     OF CURRY COUNTY D/B/A CURRY COUNTY
     DETENTION CENTER AND
     KENNETH LACEY

                      Defendants.


                       COMPLAINT FOR THE RECOVERY OF DAMAGES
            CAUSED BY THE DEPRIVATION OF CIVIL RIGHTS AND JURY TRIAL DEMAND

              Plaintiff brings this complaint for damages caused by the violation of his civil and

     constitutional rights. Plaintiff files this complaint under the federal Civil Rights Act, the

     Constitution of the United States, and New Mexico law. In support of this complaint,

     plaintiff alleges the following:

                                        JURISDICTION AND VENUE

1.         Jurisdiction and venue are proper in the Federal District Court of New Mexico.

2.         All the parties, except Plaintiff Arthur Ferro, reside in New Mexico and the acts

           complained of occurred exclusively within Curry County New Mexico.

3.         Jurisdiction over the subject matter of this action is conferred by 28 U.S.C. § 1331

           and 42 U.S.C. §§ 1983 and 1988, therefore this Court also has jurisdiction over this

           action pursuant to 28 U.S.C. § 1343 and supplemental jurisdiction over the state tort

           claims pursuant to 28 U.S.C. § 1367.
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                                       PARTIES

4. Plaintiff Arthur Ferro is an individual who resides in North Carolina.

5. Defendant Board of County Commissioners of Curry County d/b/a Curry County

   Detention Center (CCDC) was responsible for, ran, and had complete authority over

   the CCDC.

6. Defendant Kenneth Lacey is a detention officer employed by the CCDC.

7. At all material times Defendant Lacey was acting in the course and scope of his

   employment at CCDC and under color of state law.

8. Defendant Lacey is sued in his individual capacity.



                           FACTUAL BACKGROUND

9. On April 3, 2016, Arthur Ferro was arrested and booked into the CCDC, which is in

   Clovis, New Mexico.

10. At the time, Mr. Ferro was 46 years old.

11. Mr. Ferro was held at the CCDC as a pre-trial detainee.

12. Mr. Ferro was classified as “low,” meaning he did not show signs of violent, serious

   disruptive, predatory, or escape behavior.

13. Mr. Ferro was placed into the alpha pod, which is the maximum-security pod of the

   CCDC.

14. The alpha pod houses inmates and detainees known to be dangerous.

15. The alpha pod houses inmates and detainees known to be vulnerable in a jail setting.

16. The CCDC knew Mr. Ferro had not been in a jail before.
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17. Mr. Ferro was housed with detainees who are classified as “max,” meaning they were

   inmates or detainees who have been identified as violent, predatory, seriously

   disruptive, and/or escape prone.

18. Two of those inmates classified as max and housed in alpha pod with Mr. Ferro were

   Jeffery Robinson and Christopher Garcia.

19. On April 8, 2016, Defendant Kenneth Lacey was posted in the alpha pod.

20. Defendant Lacey had allowed all the inmates in the bottom tire of alpha pod out for

   their recreation time.

21. During that time, Inmate Garcia hid in the shower.

22. Defendant Lacey then started lockdown for the lower tier around 7pm.

23. Defendant Lacey did not check each cell individually during lockdown.

24. Defendant Lacey did not check the shower area during lockdown.

25. Defendant Lacey did not discover that Inmate Garcia was not in his cell for

   lockdown.

26. Defendant Lacey then opened the top tier doors.

27. After opening the top tier doors, Defendant Lacey left the alpha pod.

28. Defendant Lacey did not adequately monitor the alpha pod through video or

   otherwise after he left.

29. The CCDC did not have adequate policies in place for monitoring pods, including the

   alpha pod.

30. After Defendant Lacey left alpha pod unmonitored, Inmates Garcia and Robinson

   went to Mr. Ferro’s room.

31. Mr. Ferro was asleep at the time.
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32. Inmate Garcia then went into Mr. Ferro’s room and attacked him.

33. Inmate Robinson acted as the lookout, standing near Mr. Ferro’s cell door.

34. Nobody working for the CCDC was monitoring the alpha pod and therefore no one at

   CCDC saw the attack.

35. It is clear from video of the incident that there was an attack occurring inside Mr.

   Ferro’s cell.

36. The attack went on for over half an hour.

37. At one point during the attack Mr. Ferro escapes Inmate Garcia and makes it out of

   his cell.

38. Inmate Garcia then grabs Mr. Ferro by the neck and, with Inmate Robinson’s

   assistance, drags Mr. Ferro back into the cell to continue beating him.

39. When Mr. Ferro gets out of his cell, he leans over the second-floor railing and blood

   can be seen pouring onto the floor below.

40. After the attack on Mr. Ferro, Inmate Garcia leaves the cell and tries to wipe up the

   pool of blood with his sock.

41. Inmate Garcia then takes a shower, washing off Mr. Ferro’s blood.

42. Inmates Garcia and Robinson then order Mr. Ferro to take a shower.

43. Mr. Ferro stumbles to the shower and, unable to stand due to his injuries, lies on the

   floor next to the shower.

44. Someone in the control center noticed Mr. Ferro lying on the floor and called out for

   help.

45. When detention officers responded, they found Mr. Ferro gravely injured.
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46. Mr. Ferro was unable to stand up, and the detention officers had to use a wheelchair

   to move him.

47. The attack left Mr. Ferro with broken bones, including a fractured skull, a dislocated

   shoulder, bruises, cuts, and broken dentures.

48. Mr. Ferro was diagnosed with a traumatic brain injury and post-traumatic stress

   disorder stemming from the attack.

49. Mr. Ferro was forced to recover from this incident at the CCDC in the very same cell

   in which he was attacked.

50. As a result of the attack, Mr. Ferro cannot sleep comfortably anymore and suffers

   from nightmares of the attack.

51. Mr. Ferro continued to be housed at the CCDC after the attack where he was given

   nothing more than over the counter pain killers during his recovery and had to

   continue to wear his uniform with both arms through the sleeves even though it was

   painful for Mr. Ferro to move his injured arms through the armholes every day.



                   COUNT I: DEPRIVATION OF CIVIL RIGHTS

52. Plaintiff alleges and reasserts all prior paragraphs of this complaint as though fully set

   forth herein.

53. Mr. Ferro has a constitutional right to humane conditions of confinement under the

   Fourteenth Amendment to the United States Constitution, including ensuring his

   reasonable safety while in CCDC’s custody.

54. This right was clearly established as of April 2016.
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55. Defendant Lacey directly deprived Mr. Ferro of that right by placing him under the

    above conditions.

56. Defendant Lacey’s actions were objectively unreasonable and deliberately indifferent

    to the risks caused by the unsafe conditions.

57. Mr. Ferro’s conditions of confinement were a violation of his constitutional rights.

58. Defendant Lacey’s actions and inactions proximally caused Mr. Ferro’s damages.



      COUNT II: CUSTOM AND POLICY OF VIOLATING CIVIL RIGHTS,

                                MUNICIPAL LIABILITY

59. Plaintiff alleges and reasserts all prior paragraphs of this complaint as though fully set

    forth herein.

60. CCDC had a policy of inadequate supervision of the alpha pod.

61. CCDC has a policy of inadequate lockdown procedures and training.

62. CCDC has a policy of group tier time in the alpha pod.

63. CCDC has a policy of housing vulnerable and dangerous detainees in the same pod.

64. This policy created conditions under which persons housed at the CDCC were not

    kept reasonably safe.

65. These conditions were the moving force behind the violation of Mr. Ferro’s civil

    rights and his damages.



                COUNT III: STATE TORT CLAIMS NEGLIGENCE


66. Plaintiff states each of the preceding allegations as if fully stated herein.
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67. The defendants negligently caused the plaintiff to be assaulted and battered by

    placing him in the conditions described above.



            COUNT IV:        STATE TORT CLAIMS NEGLIGENTLY OPERATING
                                 A BUILDING/EQUIPMENT



68. Plaintiff states each of the preceding allegations as if fully stated herein.


69. The defendants negligently operated alpha pod of the CCDC.


70. This negligence caused plaintiff to be assaulted and battered.




              COUNT V: VIOLATION OF STATE CONSTITUTIONAL RIGHTS


71. Plaintiff states each of the preceding allegations as if fully stated herein.


72. The plaintiff has a substantive due process right under the New Mexico Constitution

    to humane conditions of confinement, including ensuring his reasonable safety while

    in CCDC’s custody.

73. The defendants deprived the plaintiff of his constitutional right to reasonable safety

    by placing him under the above conditions, causing his damages.

                                            CAUSATION


74. For all counts, there is a causal connection between defendants’ policies, practices,

    customs, actions and inactions to plaintiff’s injuries and constitutional right

    violations.
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75. Because of all the foregoing, plaintiff has suffered damages and injuries including but

   not limited to physical injuries, pain and suffering, and severe psychological and

   emotional distress.



                               DEMAND FOR JURY TRIAL

76. The Plaintiff demands a trial by jury.



                                    REQUEST FOR RELIEF

Wherefore, Plaintiffs prays for judgment as follows:

       A.      Compensatory damages in a yet undetermined amount, including damages

               for violations of civil rights, physical injuries, pain and suffering,

               humiliation and emotional distress.

       B.      Punitive damages in a yet undetermined amount.

       C.      Reasonable costs and attorney’s fees incurred in bringing this action.

       D.      Such other and further relief as the Court deems just and proper.



                                                       Respectfully Submitted,

                                                       Electronically Submitted

                                                       /s/ Margaret Strickland
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